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                           UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                                       CASE NO: 6:13-cr-5-Orl-18DAB

SEAN ANDRE REID
______________________________________


                                 AMENDED
                       ACCEPTANCE OF PLEA OF GUILTY AND
                           ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, there

being no timely objection, the plea of guilty of the Defendant to Counts One (1) and Seven (7) of

the Indictment is now accepted and the Defendant is ADJUDGED GUILTY of such offense(s).

A sentencing hearing has been scheduled and will be conducted pursuant to separate notice.

       DONE and ORDERED in Orlando, Florida this 6th day of March, 2013.




Copies furnished to:

United States Marshal
United States Attorney
United States Probation Office
United States Pretrial Services Office
Counsel for Defendant
